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corporation; and DOES 1-10, inclusive,

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION:

TRANSCRIPTION COMMUNICATIONS
CORPORATION, a California corporation,

Plaintiff,

Vv.

JOHN MUIR HEALTH, dba JOHN MUIR
MEDICAL CENTER and MOUNT
DIABLO MEDICAL CENTER, a California
corporation; FOCUS ENTERPRISES
LIMITED, dba FOCUS INFOMATICS,
INC., a Delaware corporation;
eSCRIPTION, INC., a Delaware
corporation; NUANCE
COMMUNICATIONS, INC., a Delaware

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Defendants.

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Case No. 08-CV-04418 TEH -

_ PLAINTIFF TRANSCRIPTION

COMMUNICATIONS CORPORATIONS’
OPPOSITION TO DEFENDANTS FOCUS
ENTERPRISES LIMITED, eSCRIPTION,
INC., AND NUANCE
COMMUNICATIONS, INC.’S MOTION
TO DISMISS PLAINTIFF’S FIRST

AMENDED COMPLAINT
Date: February 2, 2009
Time: 10:00 a.m.
Judge: Hon Thelton Henderson
Courtroom: 12

' Complaint Filed: = July 7, 2008 ©
Removal Filed: September 22, 2008

Trial Date: ' TBD

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I. INTRODUCTION .

Defendants Focus Enterprises, Ltd., dba Focus Infomatics, Inc. (hereinafter
“Focus’’), eScription, Inc. (hereinafter “eScription”), and Nuance Communications, Inc.
(hereinafter ‘“Nuance”) (collectively the “Nuance Defendants”), working in concert with one
another, have engaged in a course of conduct by which they systematically defrauded medical
service providers with promises of medical transcription cost savings without the use of foreign
labor, or with other misrepresentations concerning the use of foreign labor by their competitors.
eScription sells its “voice recognition” software to medical service providers promising
transcription cost savings based on technological advantages, but knowing that the promised cost
savings will stem not from technology, but from the use of cut-rate foreign labor by its business
partners, the “MTSO Alliance.” Focus, a member of eScription’s “MTSO Alliance,”
corroborates eScription’s fraud by concealing its use of foreign labor from its client hospitals.
Nuance has acquired both Focus and eScription, managing and controlling both businesses and
enhancing their ability to collaborate in this fraudulent scheme.

Using these deceptive means, the Nuance Defendants have pried medical
transcription business away from many of their honest competitors, such as plaintiff
Transcription Communications Corporation (hereinafter “TCC”). However, such unfair
competition, harmful as it may be, is only a small part of the damage caused by the Nuance

Defendants’ wrongful acts. The Nuance Defendants’ fraudulent conduct targets medical service

|| providers. The Nuance Defendants blatantly lie to medical service providers (primarily

hospitals) about their use of : cheap, unreliable overseas labor, leaving such organizations without
the ability to make informed choices about who should prepare their important medical records.
Worst of all, the Nuance Defendants put the medical records of countless patients throughout the
United States at serious risk, as the legal protections and regulations protecting medical record
privacy and quality are virtually unenforceable abroad. ‘The dishonest acts of the Nuance
Defendants do far more than create an unfair competitive environment for medical transcription
service providers like TCC — they also compromise the quality, integrity, and security of the

private medical data of thousands of American patients.

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The Nuance Defendants now attempt to evade responsibility for their dishonest
conduct, claiming that TCC’s complaint against them is insufficient. The Nuance Defendants’
claim that TCC’s 24 pages of allegations are insufficient to put them on notice of the particulars
of the fraud they have committed is as disingenuous as it is meritless. So, too, is the Nuance
Defendants’ outrageous contention that their fraudulent scheme, specifically calculated to
displace companies like TCC (and rather successful in that regard), has not directly caused TCC
any harm. TCC’s allegations set forth, in great detail, the Nuance Defendants’ fraudulent scheme
to deceive medical service providers, as well as their tortious interference with TCC’s contract
and business relationship with John Muir Health (hereinafter “JMH”). The Nuance Defendants’
motion to dismiss TCC’s complaint should therefore be denied.

II. FACTUAL AND PROCEDURAL BACKGROUND |
A. The TCC-JMH Contractual and Economic Relationships

In December 1999, JMH representatives asked Richard Spall to create a medical
transcription services company for the purpose of providing JMH’s medical facilities with
transcription services. TCC First Amended Complaint (“FAC”) q 10. JMH told Spall that this
would be a lasting, sustainable business opportunity that would persist so long as his company
performed its obligations in a satisfactory manner. FAC { 11; 18.

In March and July of 2000, respectively, TCC entered into two written Services
Agreements with JMH, thereby becoming JMH’s exclusive transcription service provider at its
two medical facilities. FAC §{ 15; 20. In January 2003, J MH agreed to an extension of the .
Services Agreements through December 31, 2007. FAC § 32. JMH has never complained that
TCC failed to perform satisfactory transcription services. FAC { 59.

B. JMH Purchases eScription Software Based on Misrepresentations

In August, 2004, eScription, through its marketing partner Eclipsys Corporation,
gave a sales presentation to JMH espousing the cost savings available through the use of
eScription’s “voice recognition” software product. FAC ff 40-41. JMH was led to believe. that
eScription’s “voice recognition” software could reduce its transcription costs with its various
technological advantages over competing software. FAC 441. What JMH was not told was that

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eScription’s “voice recognition” software did not have any technological advantages of note over
competing software. FAC §§ 41; 46; 102. What eScription did have was a preferred provider
program, which consisted of transcription companies, like Focus, that used cut-rate foreign labor
to reduce transcription costs, and who were willing to conceal their use of such labor from client
hospitals like JMH. FAC {f 41; 52; 96-98; 101. .

Throughout September and October of 2005, eScription consummated its sale to
JMH, never telling JMH the truth about how its customers save money. FAC 7 46. Once JMH
had purchased the eScription software, eScription encouraged JMH to hire one of its “preferred
providers,” such as Focus, to perform its transcription services. FAC {J 51; 72; 80.

C. JMH Hires Focus Based on Further Misrepresentations

Early in 2006, shortly after its purchase of eScription software, JMH issued a
Request for Proposal to Provide Transcription Services to John Muir Health (“RFP”). FAC 4 53.
Focus submitted a response to JMH’s RFP, representing that it would provide medical
transcription services to JMH at a rate significantly lower than that charged by TCC, without the
use of transcriptionists based outside of the United States. FAC 9 55-56. Focus specifically
represented in response to Section 9.11 of the RFP’s “General Vendor Profile” section that it
would comply with all specifications of the RFP, including the requirement that the winning
bidder employ only United States based transcriptionists on JMH’s account.! FAC 9 56. Relying

on this misrepresentation, as well as other misrepresentations and omissions, JMH hired Focus to

perform its transcription services using eScription’ s software. FAC { 61; 105; 108.

On July 17, 2006, JMH sent a written notice to TCC purporting to terminate the
Services Agreements, effective October 24, 2006, and ending both the contractual and economic
relationships between JMH and TCC. FAC 757. Losing JMH’s business so devastated TCC

that it was forced to lay off all its employees and cease business operations. FAC { 109.

t JMH’s insistence that its transcription services be performed exclusively by

United States based transcriptionists arises from general concerns, throughout the medical

‘industry, regarding the security of American patients’ private medical data handled in foreign

countries. See FAC 9 34. For this reason, JMH required that TCC use only United States based

transcriptionists on JMH’s account. FAC {f 35-37.
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. Il. ARGUMENT
A. Applicable Standard of Review
In evaluating a defendant’s motion to dismiss pursuant to Federal Rule of Civil
Procedure 12(b)(6), all facts alleged in the complaint must be accepted as true and construed in
the light most favorable to the plaintiff. Lee v. City of Los Angeles, 250 F.3d 668, 677 (9th Cir.
2001): Love v. United States, 915 F.2d 1242, 1245 (9th Cir. 1989). Rule 12(b)(6) motions are
“viewed with disfavor” and “rarely granted.” Hall v. Santa Barbara, 833 F.2d 1270, 1274 (9th
Cir. 1986). Review is based strictly on the contents of the complaint. Buckey v. County of Los
Angeles, 968 F.2d 791, 794 (9th Cir. 1992). Dismissal is inappropriate “unless it appears beyond
doubt that the plaintiff can prove no set of facts in support of the claim entitling plaintiff to
relief.” Livid Holdings Ltd. v. Salomon Smith Barney, Inc., 416 F.3d 940, 946 (9th Cir, 2005).
B. TCC’s Allegations Properly State a RICO Claim Against the Nuance
Defendants Under U.S.C. Section 1962(c)
To state a claim under RICO section 1962(c), a party must allege: (1) conduct;
(2) of an enterprise; (3) through a pattern; (4) of racketeering activity. Odom v. Microsoft Corp.,
486 F.3d 541, 547 (9th Cir. 2007). The Nuance Defendants do not contend that TCC has failed
to‘plead any of these elements. Rather, the Nuance Defendants challenge TCC’s RICO

allegations in two other respects. First, they claim that TCC has not alleged a proximate causal

connection between the acts alleged and the damages TCC suffered. See Nuance Defendants’
Motion, at 5:6-7:27. Second, they claim that TCC’s fraud pleadings are not set forth with
sufficient “particularity” to meet the standards of Federal Rule of Civil Procedure 9(b). See
Nuance Defendants’ Motion, at 8:1-9:15. In addition, the Nuance Defendants suggest that RICO
applies exclusively to archetypical “organized crime” situations, not to illegal conduct of
otherwise legitimate companies. See Nuance Defendants’ Motion, at 2:17-19; 7:11-27. For the
reasons set forth below, none of these contentions support dismissal of TCC’s RICO complaint.
Accordingly, the Nuance Defendants’ motion to dismiss TCC’s RICO claims should be denied.
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1. TCC’s Damages Were the Direct, Proximate Result of the
Nuance Defendants’ Fraudulent Scheme
Plaintiffs asserting RICO claims under 18 U.S.C. 1964(c) are required to show

injury proximately caused by the defendants’ RICO violation. Bridge v. Phoenix Bond &

Indemnity Co., 128 S. Ct. 2131, 2141-42 (2008); see also Sedima, S.P.R.L. v. Imrex Co., Inc.,

473 US. 479, 496 (1985) (RICO plaintiff “only has standing if ... he has been injured in his
business or property by the conduct constituting the violation”).

Proximate causation is established where the plaintiff's injuries are “a foreseeable
and natural consequence” of the defendant’s acts. Bridge, 128 8. Ct. at 2144. Proximate cause is
“not the same thing as the sole cause.” Oki Semiconductor Co. v. Wells Fi argo Bank, 298 F.3d
768, 773 (9th Cir. 2002); accord City of New York v. Smokes-Spirits.com, Inc., 541 F.3d 425,
443 (2d Cir. 2008) (rule requiring that “proximate cause” be the “sole cause” would “effectively
require that a plaintiff’s injury be caused by only one source” and “operate to insulate from
liability defendants who scheme with others in violation of RICO”). Rather, defendants’ conduct
is the proximate cause of injury where it is “a substantial factor in the sequence of responsible
causation.” Jd.; accord Williams v. Mohawk Indus., Inc., 465 F.3d 1277, 1288 n.5 (11th Cir.
2006) (citing Cox v. Adm’r U.S. Steel & Carnegie, 17 F.3d 1386, 1389 (11th Cir. 1994));
Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 615 (6th Cir. 2004) (wrongful conduct must be a
“substantial and foreseeable cause”); see also Mid Atlantic Te elecom, Inc. v. Long Distance
Services, Inc., 18 F.3d 260, 263 (4th Cir. 1994) (causation analysis “should focus on the temporal
and circumstantial relationship between the defendant’s conduct and the injury suffered by the
plaintiff, and the foreseeability that intervening events would cause injury to the plaintiff”).

As explained below, TCC has alleged damages directly attributable to the Nuance
Defendants’ fraudulent conduct. TCC’s loss of business was a direct, foreseeable, and natural
consequence of the Nuance Defendants’ fraudulent acts. Indeed, the Nuance Defendants’ fraud
was specifically calculated to enable Focus to displace TCC as JMH’s transcription service
provider. Having succeeded in their deceptive scheme, the Nuance Defendants cannot now claim
that they did not cause the very harm they intended.

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a. TCC’s Damages Were Proximately Caused by the Nuance
Defendants’ Fraudulent Acts

The Nuance Defendants perpetuated a fraudulent scheme calculated to persuade
JMH to purchase eScription software and switch its transcription service provider from TCC to
an eScription preferred provider (Focus) based on material misrepresentations and omissions.
FAC (ff 101-102. JMH, relying upon the Nuance Defendants’ misrepresentations regarding
(1) the true (and undesirable) source of any “cost savings” from eScription’s “voice recognition”
software; and (2) the true (and. undesirable) source of labor resources Focus would use to perform

services for JMH, abandoned its agreement and existing business relationship with TCC,

purchased eScription’s software, and gave its transcription work to Focus. FAC 9 104-105.

If JMH had not been led to believe that it could save substantial sums of money
on transcription costs without the use of overseas labor by employing eScription’s software,
combined with Focus’ expertise in using that software, JMH never would have broken its
agreement with TCC, and would still be doing business with TCC now2 FAC qf 106-108. if
Focus had not misrepresented its willingness and ability to deliver low-cost transcription services
without the use of overseas labor, JMH would not have accepted Focus’ bid, and instead would
have continued its business relationship with TCC. FAC § 56-57; 101; 107-108; see also FAC
{59-60 (JMH cited no reason for breaking its agreement with TCC other than the desire to

reduce costs using eScription software). Instead, because the Nuance Defendants induced JMH

‘to break its promises to TCC with fraudulent statements and omissions, and because Focus _

cheated in the bidding process by lying about its use of foreign labor, TCC lost its account with
JMH. FAC {§ 106; 108. TCC’s loss of the JMH account so devastated TCC that it was forced to
lay off its employees and cease business operations entirely. FAC 4109. The Nuance ©
Defendants’ fraudulent conduct, calculated specifically to induce JMH to move its transcription

work from TCC to Focus, was the direct cause of all of TCC’s losses. FAC 4] 107-109.

2 JMH demonstrated its intolerance of foreign transcription labor when it demanded

that TCC sign an addendum to the Services Agreements forbidding its use. See FAC {f 34-37.
It is precisely for this reason that JMH’s RFP expressly required that its transcription service

provider employ only United States based transcriptionists on JMH’s account. See FAC { 56.
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The Nuance Defendants argue that TCC’s injuries should not be attributed to their
fraudulent conduct because “intervening factors could have caused or contributed”to the alleged
harm. See Nuance Defendants’ Motion, at 6:16-17. However, imaginary scenarios in which
TCC would have suffered the same injuries without the Nuance Defendants’ misconduct cannot
absolve them of liability. Proximate cause is “not the same thing as the sole cause.” Oki
Semiconductor Co., 298 F.3d at 773. The Nuance Defendants point to nothing in the complaint
itself suggesting that proximate cause is not properly alleged. Hypothetical contributing factors
extrinsic to the facts alleged cannot support a motion to dismiss a complaint. See Buckey, 968 °
F.2d at 794 (review on motion to dismiss restricted to the facts alleged in the complaint).

Moreover, courts considering facts similar to those alleged here have found
proximate cause to be present, even where intervening factors theoretically could have
contributed to the alleged harm. For example, a defendant’s false representations of compliance
with certain environmental laws and regulations, which gave the defendant a competitive
advantage over the plaintiff for bidding on Navy contracts, were found to be the cause of the
plaintiff's inability to obtain lucrative Navy contracts, and thus caused the financial injuries
associated with such lost contracts. Southwest Marine, Inc. v. q riple A Machine Shop, Inc., 720
F. Supp. 805, 808 (N.D. Cal 1989). A proximate causal connection exists between a defendant’s
false statements to mutual potential customers and the plaintiffs resulting injuries to competitive

position. Proctor & Gamble Co. v. Amway Corp., 242 F.3d 539, 565 (Sth Cir. 2001) (defendant

allegedly spread false rumors concerning plaintiffs connections with Satanic worship using

mails and wires, proximately causing customers to boycott plaintiff's products). And the
Supreme Court recently held that a plaintiff's losses of valuable tax liens in the context of a
bidding process, acquired by the defendants through unfair advantages created by mail and wire
fraud, were “the direct result of [the defendants’] fraud.” Bridge, 128 S. Ct. at 2144. In these
cases, the fact that intervening causes could have theoretically contributed to the injuries alleged
did not preclude a finding that the defendants’ fraudulent conduct was a “substantial factor”
proximately causing those losses. See Oki Semiconductor Co., 298 F.3d at 773 (“substantial

factor in the sequence” of causation is a proximate cause).

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b. The Policy Concerns Articulated in Holmes are Not Present in
This Case
In Holmes v. Securities Investor Protection Corp., 503 U.S. 258 (1992), the
Supreme Court articulated three motivating principles for RICO’s proximate causation
requirement. First, less direct injuries can make it difficult to ascertain what damages are
attributable to the RICO defendants’ conduct. Holmes, 503 U.S. at 545. Second, undesirably
complex rules may be necessary to apportion damages associated with remote injuries. Id.
Finally, grappling with such damage calculation issues is unnecessary where more direct victims
could act as “private attorneys general” to advance RICO’s deterrence interests. Id. Courts
considering causation issues in the RICO context consider these factors when determining
whether proximate cause is present. See, e.g., City of New York, 541 F.3d at 442; Williams, 465
F.3d at 1290. As discussed below, the policy concerns articulated in Holmes are not present here.
(1) TCC is the Only Victim of the Nuance Defendants’
Illegal Actions Willing and Able to Pursue its Claim
The Nuance Defendants argue that TCC’s injuries could not have been caused by
their fraud because all misrepresentations alleged were made to JMH, not TCC. See Nuance
Defendants’ Motion, at 6:7-12. This theory has been unequivocally rejected by the Supreme
Court. See Bridge, 128 S. Ct. at 2143 (rejecting the erroneous theory that “a fraudulent
misrepresentation can only cause legal injury to those who rely on it”).
_ Nor can JMH be relied upon to “vindicate its own rights,” as the Nuance _
Defendants suggest.> JMH has lowered its medical transcription costs due to Focus’ use of
inexpensive foreign transcription labor. Even if JMH were aware of the fraud being perpetuated
against it, and were motivated to “vindicate its rights,” JMH would have no damages to claim.’

Despite the Nuance Defendants’ contentions to the contrary, the mere ability to hire a lawyer —

3 See Nuance Defendants’ Motion, at 5:23.

‘ Nor can JMH’s patients claim any damages at this time. Although the Nuance

Defendants’ secretive cost-cutting measures have put the integrity, quality, and security of those
patients’ medical records at risk, no legal remedy is available to those patients — who are, in any

event, likely unaware that their private medical information is in jeopardy.
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does not put one in a position to expose and eradicate wrongdoing.’ Accordingly, the only party
in a position to challenge the Nuance Defendants’ widespread fraud is TCC.
(2) Determining Damages Attributable to the Nuance
Defendants’ Conduct Will Not Give Rise to the
Concerns Articulated in Holmes and Anza

The concerns expressed by the Holmes Court, and reiterated in Anza v. Ideal Steel
Supply Corp., 547 U.S. 451 (2006), are not present in this case. Notwithstanding the Nuance .
Defendants’ contrived exasperation over hypothetical damage assessment difficulties,® no
Holmes/Anza issues potentially complicating damage apportionment in this matter exist here.

In Anza, the plaintiff alleged RICO claims against a market competitor for
defrauding the New York tax authorities through mail and wire fraud, and using proceeds from
the alleged tax fraud to lower prices and attract a larger market share. Anza, 547 U.S. at 457-458.
The Anza Court, applying the principles of Holmes, reasoned that because the defendant’s total
market share (and the many individual customers making up that market share) was certainly
influenced by factors other than the alleged fraud, apportioning damages would require the sort
of “complex assessment” the Holmes Court warned against. Id. at 459.” The Anza Court also
recognized that the immediate victim of the alleged fraud — the State of New York — could be
expected to pursue appropriate and straightforward tax fraud remedies, thus obviating the need

for complex civil RICO actions concerning that same tax fraud. Id. at 460. Under these

circumstances, and in light of the Holmes factors, the Anza Court found that the connection

between plaintiff’ s alleged harms (lost market share) and defendants’ alleged RICO acts (tax

fraud) was too attenuated to support relief. Jd. at 461.

5 See Nuance Defendants’ Motion, at 6:9-12.

$ See Nuance Defendants’ Motion, at 6:22-7:3.

7 The Anza Court reasoned that calculation of damages would need to involve

“calculating the portion of [defendants’] price drop attributable to the [alleged tax fraud],”
followed by calculating “the portion of [plaintiff's] lost sales attributable to the relevant part of
the price drop.” Anza, 547 U.S. at 459. The Anza Court recognized that such calculations are

precisely the sort of “intricate, uncertain inquiries” the Holmes Court aimed to prevent. Id.
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The concerns raised in Anza are not present here. First, as explained above, JMH,
unlike the State of New York, has suffered no direct financial harm as a result of its reliance on
the Nuance Defendants’ fraud, and thus is unable (and unwilling) to pursue any action in
connection with that fraud. Conversely, the State of New York regularly prosecutes individuals
and companies who commit tax fraud, is obviously capable of doing so again, and has ample
motivation to pursue such claims. Further, the fraud alleged in Anza was not directed at the
plaintiff's customers, but rather at unrelated governmental tax authorities. Unlike the fraud in
this case, directly aimed at TCC’s customer and calculated specifically to disrupt TCC’s business
relationship with that customer, the alleged fraud in Anza was aimed at a municipal entity with
no business relationship with any party. Finally, while the injuries alleged in Anza related to
general market share and the loss of many customers, all of whom certainly have any number of
reasons for choosing one competitor’s product over another’s, the injuries alleged here relate
specifically to a single client (JMH). There is no need to determine who among a large group of
customers was influenced by the alleged fraud. Calculating damages associated with the loss of
one customer, based on mnisrepresentations made directly to that customer, will not be the least
bit daunting. The Nuance Defendants’ manufactured concerns in this regard are misplaced.

2. TCC’s Pleadings Are Sufficiently Specific to Meet the

Standards of Federal Rule of Civil Procedure 9(b)

Federal Rule of Civil Procedure 9(b) provides that “[i]n all averments of fraud ...
the circumstances constituting fraud ... shall be stated with particularity. Malice, intent,
knowledge, and other condition of mind of a person may be averred generally.” However, this
“particularity” requirement “does not require...the pleading of detailed evidentiary matter.”
Walling v. Beverly Enterprises, 476 F.2d 393, 397 (9th Cir. 1973). Rule 9(b)’s particularity
requirements “must be read in harmony with Federal Rule of Civil Procedure 8’s requirement of
a ‘short and plain’ statement of the claim.” Baas v Dollar Tree Stores, Inc., No. C 07-03108
JSW, 2007 U.S. Dist. LEXIS 65979 at *5 (N.D. Cal. August 29, 2007); see also Zatkin v.
Primuth, 551 F. Supp. 39, 42 (S.D. Cal. 1982) (focusing exclusively on Rule 9(b)’s particularity

requirement “is too narrow an approach and fails to take account of the general simplicity and

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flexibility contemplated by the rules [of pleading]”). Accordingly, fraud pleadings are sufficient
where they are “specific enough to give defendants notice of the particular misconduct which is
alleged to constitute the fraud charged so that they can defend against the charge.” Neubronner
v. Milken, 6 F.3d 666, 671 (9th Cir. 1993); see also Semegen v. Weidner, 780 F.2d 727, 731 (9th
Cir. 1986) (purpose of Rule 9(b) is to give fair notice to each defendant of the conduct alleged).

Here, TCC describes, in detail, the widespread, ongoing fraud at issue. The
Nuance Defendants cannot honestly claim that they do not have adequate notice of the
misconduct alleged to defend themselves. The Nuance Defendants’ insistence on the pleading of
various minutia is a transparent attempt to evade responsibility by taking advantage of the unique
circumstances of this case. Such abuse of Rule 9(b) should not be permitted,

a. - TCC Sets Forth, in Extensive Detail, the Nuance Defendants’
Fraudulent Scheme .

TCC’s allegations concerning the Nuance Defendants’ fraud are extensive and
detailed. See FAC {§ 39-57; 86-110. While TCC is not, at this time, aware of every minor detail
of the manner in which this fraudulent scheme has been executed, TCC has alleged more than
enough detail to give the Nuance Defendants notice of the charges against them, such that they
are able to defend themselves. See Neubronner, 6 F.3d at 671.

The Nuance Defendants argue that the pleadings fail to set forth eScription’s

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misrepresentations with sufficient particularity because they do not describe the “‘who-what- —

-when-where-how” details” of eScription’s fraudulent conduct. See Nuance Defendants’ Motion,

at 8:15-9:3. The Nuance Defendants’ contention disregards the nature of eScription’s fraudulent
conduct. eScription’s misrepresentations were by omission.’ Pleadings of fraud by omission
need not — and, indeed, cannot — specify the particular “time, place and nature” of the alleged acts
of misrepresentation, because the complaint does not arise from acts that can be described;

rather, it is “the silence or failure to act ... which is complained of.” Cottman Trans. Sys., Inc. v.

: eScription’s fraud arises from the fact that it failed to inform JMH that a
significant portion of any medical transcription cost savings it would realize upon purchasing
eScription software would stem not from any purported technological advantages of the software,

but from the fact that eScription’s preferred providers used cheap foreign labor. FAC 41.
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Dubinsky, 95 F.R.D. 351, 353 (E.D. Penn. 1982) (emphasis in original); accord Golden Trade,
S.R.L. v. Jordache, 143 F.R.D. 504, 508 (S.D.N.Y. 1992) (Rule 9(b) does not require
specification of time, place and nature of misrepresentation “alleged to be in the nature of an.
omission”). Accordingly, TCC’s allegations, which describe eScription’s fraudulent omissions
in great detail, are more than adequate to satisfy Rule 9(b)’s requirement of specificity.

The Nuance Defendants further complain that certain of TCC’s fraud allegations,
alleged “between a range of dates,” are not alleged with sufficient specificity as to time.
However, where, as here, a scheme involving multiple instances of fraud over time is alleged,
Rule 9(b) does not require plaintiffs “to allege, in detail, all facts supporting each and every
instance of [fraud] over a multi-year period.” United States ex. rel. Lee v. Smithkline Beecham,
Inc., 245 F.3d 1048, 1051 (9th Cir. 2001); accord United States ex. rel. Bledsoe v. Cmty. Health
Sys., Inc., 501 F.3d 493, 509 (6th Cir. 2007) (purpose of Rule 9(b) is “not to reintroduce
formalities to pleading”); United States ex. rel. Manion v. St. Luke’s Regional Med. Center, Lid.,
No. CV 06-498-S-EJL, 2008 U.S. Dist. LEXIS 25719 at *9 (D. Idaho March 31, 2008) (requiring
plaintiff to “provide specific information as to exactly when alleged violations took place over a
multi-year time frame ... would make Rule 9(b) carry more weight than it was meant to bear”)
(citing Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997)); see also Seville Ind. Machinery
Corp. v. Southmost Machinery Corp., 742 F.2d 786, 791 (3rd Cir. 1984) (Rule 9(b) does not

specifically require “date, place or time” allegations; plaintiffs may “use alternative means of

|| injecting precision and some measure of substantiation irito their allegations of fraud”). _

TCC has alleged that Focus has committed, and continues to commit, an ongoing
fraud against JMH by both (1) affirmatively misrepresenting that it does not use foreign labor on
JMH’s account; and (2) failing to inform JMH that it does, in fact, use foreign labor on JMH’s
account. FAC 4] 96-98. TCC alleged, in detail, at least one instance in which Focus
affirmatively misrepresented to JMH that Focus would service JMH’s account without the use of
foreign labor. FAC {§ 56-57 (Focus represented in Section 9.11 of the “General Vendor Profile”
section of its response to JMH’s RFP that it would not use transcription labor based outside of
the United States to provide JMH’s transcription services). Accordingly, Focus is well aware of

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. the specific fraud allegations brought against it, and has “more than enough notice to prepare [its]

defense.” Aspach v. Bestline Products, Inc., 382 F. Supp. 1083, 1091 (N.D. Cal. 1974).
b. The Unique Circumstances of This Case Call For Lenity With
Respect to Rule 9(b) Heightened Pleading Standards

TCC’s situation is different than that of a typical fraud plaintiff, in that TCC is
alleging fraud perpetrated against third parties. Accordingly, TCC does not have access to the
same level of detail as a plaintiff that has been defrauded directly. This Court should assess the
sufficiency of TCC’s fraud allegations in light of these unique circumstances.

Many courts have recognized that where information concerning the details of a
fraudulent scheme is known to the defendants, but not accessible to the plaintiff, Rule 9(b)’s
“particularity” requirements should be relaxed. See, e.g., Corley v. Rosewood Care Center, Inc.
of Peoria, 142 F.3d 1041, 1051 (7th Cir. 1998) (Rule 9(b) “must be relaxed where the plaintiff
lacks access to all the facts necessary to detail his claim”); New England Data Services v. Becher,

829 F.2d 286, 291 (1st Cir. 1987) (“outline of the general scheme to defraud” sufficient where

“plaintiff “was not directly involved in the alleged transaction”); Baas v. Dollar Tree Stores, Inc.,

No. C 07-03108 JSW, 2007 U.S. Dist. LEXIS 65979 at *5-6 (N.D. Cal. August 29, 2007) (Rule
9(b) should be “relaxed with respect to matters within the opposing party’s knowledge” and
when “plaintiffs can not be expected to have personal knowledge of the relevant facts”);

Guaranty Residential Lending, Inc. v. Int’l Mortgage Center, Inc., 305 F. Supp. 2d 846; 853 —

|| GN.D. 111. 2004). Such lenity is particularly appropriate where, as here, the plaintiff is not the _

party allegedly defrauded. See Corley, 142 F.3d at 1051 (plaintif entitled to lenient application
of Rule 9(b) where “the plaintiff alleges a fraud against one or more third parties”); New England
Data Services, 829 F.2d at 291 (“Where there are multiple defendants, as here, and where the
plaintiff was not directly involved in the alleged transaction, the burden on the plaintiff to know
exactly when the defendants called each other, and the contents thereof, is not realistic.”).

The Nuance Defendants’ demands of further detail do not arise from an actual
need for that detail in order to understand and defend against TCC’s claims. Those demands are
an effort to use Rule 9(b) inappropriately to avoid liability for their fraudulent conduct. TCC has

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alleged the Nuance Defendants’ fraudulent scheme in substantial detail. Further detail will
emerge through discovery, but the Nuance Defendants have more than enough information to
prepare their defense now. Accordingly, the Nuance Defendants’ insistence on formalistic
pleading beyond that which is possible under the circumstances is unnecessary, unjust, and
inconsistent with the spirit of Federal Rules of Civil Procedure 8 and 9(b).

3. The Nuance Defendants’ Suggestions that RICO is Not Applicable to

_ Commercial Disputes are Without Merit

The Nuance Defendants suggest that RICO is strictly an “organized crime statute”
that is not appropriate in the context of commercial disputes.” However, as the Supreme Court
recently observed, the Court has “repeatedly refused to adopt narrowing constructions of RICO in
order to make it conform to a preconceived notion of what Congress intended to proscribe.”
Bridge, 128 S. Ct. at 2145.'° The Nuance Defendants’ narrow view of RICO has been
unequivocally rej ected by both the Supreme Court and the Ninth Circuit Court of Appeals. See
Sedima, 473 U.S. at 497-498 (“RICO is to be read broadly” in accordance with “Congress’ self-
consciously expansive language and overall approach” and “its express admonition that RICO is
to ‘be liberally construed to effectuate its remedial purposes’”); Odom, 486 F.3d at 545-547
(discussing the impropriety of “judicial resistance to RICO, manifested in narrow readings of its
provisions by lower federal courts”). The Supreme Court has made abundantly clear that RICO
actions are not limited to circumstances popularly associated with archetypical organized crime.
See Sedima, 473 U.S. at 499 (noting that in enacting RICO, “Congress wanted to reach both
‘legitimate’ and ‘illegitimate’ enterprises. The former enjoy neither an inherent incapacity for

criminal activity nor immunity from its consequences.”)

? See Nuance Defendants’ Motion, at 2:17-19; 7:11-27.

0 See National Organization for Women, Inc. v. Scheidler, 510 U.S. 249, 252
(1994) (rejecting the argument that “RICO requires proof that either the racketeering enterprise
or the predicate acts of racketeering were motivated by an economic purpose”); H.J. Inc. v.
Northwestern Bell Telephone Co., 492 U.S. 229, 244 (1989) (rejecting “the argument for reading
an organized crime limitation into RICO’s pattern concept”); Sedima, 473 U.S. at 481 (rejecting
the view that RICO provides a private right of action “only against defendants who have been

convicted on criminal charges, and only where there had occurred a ‘racketeering injury’”).
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C. TCC’s First Amended Complaint States Valid Claims for Intentional
Interference with Contract and Prospective Economic Advantage
1. TCC’s First Amended Complaint Alleges Each Element of the Torts
of Intentional Interference with Contract and Intentional Interference
with Prospective Economic Advantage
‘The elements of intentional interference with contractual relations and intentional

interference with prospective economic advantage are similar. Both torts require (1) the
existence of an economic relationship between the plaintiff and a third party;'! (2) defendant’s
knowledge of the relationship; (3) intentional acts by the defendant designed to disrupt the
relationship; (4) actual disruption; and (5) resulting damages. Pac. Gas & Elec. Co. v. Bear
Stearns & Co., 50 Cal. 3d 1118, 1126 (1990) (enumerating elements of intentional interference
with contractual relations); Blank v. Kirwan, 39 Cal. 3d 311, 330 (1985) (enumerating elements
of intentional interference with prospective economic advantage claim). However, unlike
interference with contract claims, interference with prospective economic advantage claims also
require that the defendants’ acts are independently wrongful. Quelimane Co. v. Stewart Title
Guarantee Co., 19 Cal. 4th 26, 55 (1998) (interference with contract claim does not require
“wrongful” conduct apart from contract interference itself); Sebastian Int’l, Inc. v. Russolillo,
162 F. Supp. 2d 1198, 1208 (C.D. Cal 2001) (elements of intentional interference with
contractual relations and prospective economic advantage are “identical, except that interference
with competitive advantage requires that the defendant’s conduct is also “wrongful’”) (citing
Della Penna vy. Toyota Motor Sales, U.S.A., Inc., 11 Cal. 4th 376, 392-393 (1995)).

TCC’s FAC sets forth allegations establishing each element of both interference
claims. TCC alleges multiple valid contractual agreements between TCC and John Muir Health.
See FAC 4 15; 20; 24-32; 34-37. TCC also alleges an existing economic relationship with

uN By definition, the two torts differ with respect to the nature of the disrupted

“economic relationship.” In the case of interference with contractual relations, a valid contract
must exist. Pac. Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal. 3d 1118, 1126 (1990). With
respect to interference with prospective economic advantage, an economic relationship with a
reasonable probability of future economic benefit to the plaintiff must be shown. Youst v. Longo,

43 Cal. 3d 64, 71 (1987).
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JMH, with a probability of future economic benefit. Jd. at JJ 11-12; 83. TCC alleges that the
Nuance Defendants were aware of these relationships, and intentionally acted to disrupt them.
Id. at Ff 40-42; 46-47; 55-57; 70-74; 78-82. TCC alleges that the economic relationships at issue
were in fact disrupted, resulting in substantial economic damages. Jd. at 48-52; 58-61; 74; 76;
82-83; 85; 109. These allegations state causes of action for both intentional interference with
contractual relations and intentional interference with prospective economic advantage.

2. The Nuance Defendants Cannot Escape Liability With Erroneous

Claims that the Underlying Agreement Was “At-Will”
a. California Law Permits Claims for Intentional Interference
With “At-Will” Contractual Relations

The Nuance Defendants argue that claims for interference with contract are
improper per se where the contract is “at will.” However, California law has long held that
interference with an at-will contract is actionable interference with the contractual relationship,
on the theory that a contractual relationship “at the will of the parties, respectively does not make
it one at the will of others.” Speegle v. Board of Fire Underwriters, 29 Cal. 2d 34, 39 (1946)
(superceded by statute on other grounds, Karlin v. Zalta, 154 Cal. App. 3d 953, 973 (1984))
(quoting Traux v. Raich, 239 U.S. 33, 38 (1915)); see also Pac. Gas & Elec. Co. v. Bear Stearns
& Co., 50 Cal. 3d 1118, 1127 (1990) (observing that courts “have reiterated in case after case
that the contractual relationship is at the will of the parties, not at the will of outsiders”).

The Nuance Defendants’ argument relies on a single, unpublished case, Lovesy v.
Armed Forces Ben. Ass’n., No. C 07-2745 SBA, 2008 U.S. Dist. LEXIS 93479 at *31 (N.D. Cal
March 13, 2008). This reliance is misplaced. Lovesy cites Reeves, 33 Cal. 4th at 1151, for the
proposition that interference with “an at-will contract is more properly viewed as interference
with a prospective economic advantage.” Id. Reeves holds no such thing. Rather, Reeves, in
upholding an award for wrongfully inducing the termination of multiple at-will employment
contracts, held that “a plaintiff may recover damages for intentional interference with an at-will
employment relation under the same California standard applicable to claims of intentional
interference with prospective economic advantage.” Reeves, 33 Cal. 4th at 1152 (emphasis

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added). The Reeves holding is expressly limited to the employment context. The Services
Agreements at issue are not employment contracts, so Lovesy and Reeves are not applicable here.
b. The Services Agreements Underlying TCC’s Intentional
Interference Claims are Not “At-Will”

Even if the Nuance Defendants’ characterization of California law concerning
interference with at-will contracts were accurate, the Services Agreements at issue are not “at-
will” agreements. The Services Agreements are term agreements with specific, clearly delineated
termination dates. The Nuance Defendants’ bare, unsupported claim that the Services
Agreements are “undeniably at-will contracts” is simply wrong.”

3. The Nuance Defendants’ Alleged Conduct Supports Claims for

Intentional Interference with Contract and Intentional Interference

with Prospective Economic Advantage

a. Focus and eScription Both Had Knowledge of the Contract
and Economic Relationship Between TCC and JMH

Plaintiffs alleging intentional interference with business relations torts must allege
that the defendant had knowledge of the contract or business relationship at issue. Pac. Gas &
Elec. Co., 50 Cal. 3d at 1126; Blank v. Kirwan, 39 Cal. 3d at 330; Ramona Manor Convalescent -
Hosp. v. Care Enterprises, 177 Cal. App. 3d 1120, 1132 (1986).

(2B See Nuance Defendants’ Motion, at 10:15-19. The Nuance Defendants, like their ©
co-defendant JMH, erroneously presume that a contractual termination provision specifying a
written notice requirement for termination, but silent on acceptable cause for such termination,
necessarily renders the entire agreement terminable at will. This presumption is contrary to
California law. See Esbensen v. Userware Int'l, Inc., 11 Cal. App. 4th 631, 636 (1992)
(termination provision in contract for one-year term expressly permitting termination upon two
weeks written notice is “silent on the acceptable grounds for termination”); Sherman v. Mutual
Benefit Life Ins. Co., 633 F.2d 782, 784 (9th Cir. 1980) (clause stating that the agreement “may
be terminated at any time by either party, by giving the other sixty days’ notice to that effect”
does not indicate whether cause is a termination prerequisite). This issue has been thoroughly
briefed in the context of JMH’s motion to dismiss TCC’s complaint. Rather than reiterate those
arguments here in their entirety, TCC hereby expressly incorporates, by this reference, the points
and authorities set forth in Plaintiff Transcription Communications Corporations’ Opposition to
John Muir Health’s Motion to Dismiss Plaintiffs First Amended Complaint, filed with this

Court on November 17, 2008 (Docket No. 30).
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Here, TCC has alleged that eScription is, and at all relevant times was, aware of
both the contractual relationship and the ongoing business relationship between JMH and TCC.
FAC {J 70; 79. TCC also alleges that Focus is, and at all relevant times was, aware of the
contractual and ongoing business relationships between TCC and JMH, or at least was aware that
JMH had a contract and business relationship with someone to provide medical transcription |
services. FAC §§ 71; 78. These allegations are sufficient to meet the “knowledge” requirement
of the business interference torts alleged.

The Nuance Defendants apparently concede that the allegations against eScription
are sufficient in this regard. Nonetheless, they argue that the allegations against Focus are

inadequate because Focus only knew that JMH had a contract and ongoing business relationship

‘with “some transcription provider.” See Nuance Defendants’ Motion, at 11:19-21. This

argument finds no support in California law. Plaintiffs need not allege that the intentional
interference defendant was aware of the identity of their tort victim. Ramona Manor
Convalescent Hosp., 177 Cal. App. 3d at 1132 (knowledge of injured party’s identity not
necessary to business interference tort claims); Altera Corp. v. Clear Logic, Inc., 424 F.3d 1079,
1092 (9th Cir. 2005) (“When the defendant performs the act that causes the interference, the
defendant need not know exactly who is a party to the contract, so long as he knows he is
interfering with a contractual relationship.”); Sebastian Int'l, Inc., 162 F. Supp. 2d at 1203

(knowledge of third party’s identity not necessary to establish contract interference intent). The

Nuance Defendants’ argument, predicated on a misunderstanding of California law, must fail.

b. The Nuance Defendants’ Acts Were Designed to Induce JMH
to Breach its Agreement and to Disrupt the Economic
Relationship Shared by TCC and JMH
Business interference torts require that the defendants’ intentional acts are
designed to induce a breach or disruption of the relationship. Pac. Gas & Elec. Co., 50 Cal. 3d at
1126; Blank, 39 Cal. 3d at 330; Quelimane, 19 Cal. 4th at 56. Plaintiffs may satisfy this element
by pleading that the defendant intended to interfere with the plaintiff's business relationship.
Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1154 (2003).

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Here, TCC alleges that both Focus and eScription, by their intentional acts,
intended to induce breach or disruption of both the contractual relationship and the ongoing
business relationship between TCC and JMH. FAC 9 74; 82. Specifically, TCC alleges that
eScription induced JMH to purchase eScription software through misrepresentations concerning
eScription’s ability to deliver cost savings, and then encouraged JMH to move its transcription
work to a member of its “MTSO Alliance Program,” including Focus, but not TCC. Id. at F¥ 72;
80. TCC also alleges that Focus induced JMH to abandon its existing relationships with TCC
with misrepresentations concerning its ability to deliver cost savings without the use of foreign
labor. Id. at 73; 81. These allegations are more than adequate to meet the intent requirement of
the intentional interference torts.

The Nuance Defendants argue that TCC’s allegations are inadequate against
Focus because Focus would have assumed, based on the initiation of a competitive bidding
process, that JMH had terminated its prior contracts with transcription companies, and thus could
not have intended to disrupt any such contracts. See Nuance Defendants’ Motion, at 12:5-11.
This argument is rooted entirely in speculation, and finds no support in law or reason. The
initiation of a competitive contract bidding process does not mean, ipso facto, that existing
contracts have been or will be abandoned. Moreover, whatever Focus may or may not have
“assumed” in this regard is a matter of proof that does not appear in TCC’s pleadings. Such

hypothetical “assumptions” are not properly considered at this time, regardless of how

“reasonable” the Nuance Defendants assert them to be. See Buckey, 968 F.2d at 794.

The Nuance Defendants further argue that TCC “has not provided any evidence
that any actions of eScription were undertaken with ‘substantial certainty’ that its acts would
disrupt” the TCC-JMH relationships. See Nuance Defendants’ Motion, at 12:12-15. This
argument disregards the applicable standard of review for motions to dismiss, which is calculated .
to weigh the adequacy of pleadings, not “evidence.” See Love, 915 F.2d at 1245 (review of Rule
12(b)(6) motions to dismiss is “based on the contents of the complaint, the allegations of which
we accept as true and construe in the light most favorable to the plaintiff’). In any event, TCC
alleges not only that eScription (and Focus) acted with substantial certainty that their acts, if

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successful, would disrupt the TCC-JMH relationships; TCC alleges that both eScription and
Focus specifically intended such a disruption. See FAC § 74 (eScription and Focus “intended to
induce ... a breach or disruption of the Services Agreements and related addenda”); { 82
(eScription and Focus “intended to induce ... a disruption of the ongoing business relationship
between JMH and TCC”). Despite the Nuance Defendants’ efforts to avoid these allegations

with bare speculation about what TCC “apparently believed” in submitting its own RFP

response,’? TCC’s allegations that eScription and Focus intended to disrupt the JMH-TCC

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relationships easily meet the intentional interference torts’ “intent” requirements. See Korea
Supply Co., 29 Cal. 4th at 1154 (pleading intent to disrupt ongoing business relationship .
adequate to satisfy pleading requirement for element of intent).
C. The Nuance Defendants’ Acts Caused TCC’s Damages

TCC adequately alleges the necessary causal connection between Focus and
eScriptions’ acts and the resulting disruption of the JMH-TCC relationships. See Quelimane, 19
Cal. 4th at 55 (plaintiff must plead actual breach or disruption of relationship); H&M Associates
v. City of El Centro, 109 Cal. App. 3d 399, 405 (1980) (defendant’s conduct must cause breach
or disruption alleged). TCC alleges that eScription sold its product to JMH under false pretenses,
and then pressured JMH to abandon its existing transcription agreements and contract with a
member of eScription’s “MTSO Alliance Program.” FAC §{ 72; 80. TCC also alleges that
Focus misrepresented its willingness and ability to deliver cost savings to JMH without the use
of foreign labor, and based on those misrepresentations induced JMH to abandon its existing
relationship with TCC. FAC {J 73; 81. TCC alleges that both Focus and eScription engaged in
these acts for the purpose of inducing JMH to abandon its contractual and economic relationships |
with TCC and allow Focus to provide its transcription services. FAC {J 74; 82. TCC alleges
that the loss of these relationships with JMH, caused by the intentional acts of Focus and
eScription, has caused TCC’s damages. FAC 76; 85. Accordingly, TCC’s pleadings

adequately set forth the causal connection required under the law.

8 See Nuance Defendants’ Motion, at 12:16-22.
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The Nuance Defendants contend that TCC’s allegations are insufficient because
“there is simply no evidence of proximate cause between the alleged misrepresentations of
eScription and Focus and the alleged damage to TCC” and that any assertion regarding such a
causal connection is “sheer speculation.” See Nuance Defendants’ Motion, at 13:7-11. Once
again, the Nuance Defendants apparently confuse their motion to dismiss for a motion for
summary judgment. The purpose of the Nuance Defendants’ motion to dismiss is to evaluate the
sufficiency of TCC’s complaint, not “evidence.” Here, TCC has alleged that Focus and
eScription pressured JMH to abandon its existing relationships with TCC and move its
transcription work to Focus, and that those acts caused JMH to do precisely what it was
pressured to do. Such allegations are sufficient to establish, for pleading purposes, the necessary
causal connection. The Nuance Defendants cite no authority suggesting otherwise. -
d. TCC’s Ongoing Economic Relationship with JMH Would
Have Yielded Further Economic Benefit But For the Nuance
Defendants’ Wrongful Interference
The first element of all intentional interference claims is the existence of an
economic relationship between the plaintiff and third party. See Blank, 39 Cal. 3d at 330.
Because interference with prospective advantage claims need not involve a contract, plaintiffs
must show an existing economic relationship with a reasonable probability of future economic
benefit to the plaintiff. Youst, 43 Cal. 3d at 71. This requirement has been met. ©
_ TCC specifically alleges that, but for the intentional interference of Focus and
eScription, TCC would have maintained its business relationship with JMH into the foreseeable
future. FAC {J 83; 108. These allegations alone satisfy the requirement of showing reasonable
probability of future economic benefit for pleading purposes.
TCC also alleges further supporting facts. From the very beginning, JMH assured
TCC that the business relationship between them would continue so long as TCC met
expectations and performed its duties. FAC § 11. Only about a year before eScription and Focus
began interfering with the JMH-TCC relationships, JMH had agreed to an extension of their

Services Agreements that purported to give to TCC JMH’s continued business through at least

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the year 2007. FAC 7 32. Not long thereafter, eScription sold its software to JMH with false
promises that the improved technology would reduce JMH’s transcription costs, and began
pressuring JMH to switch its transcription service provider to one of eScription’s “MTSO
Alliance Program” members, such as Focus. FAC 9J 40-42: 46-48; 50-52; 80. Focus, in turn,
misrepresented to JMH that it would perform the same services as TCC for a lower price — using
eScription’s software — but without the use of foreign labor. FAC ff 55-57; 81.

If JMH had known that eScription’s promised “cost savings” resulted not from its
software’s technological advantages — as eScription had represented — but rather from the use of
foreign labor by its “MTSO Alliance Program” providers, JMH would not have purchased
eScription’s software or given its business to one of eScription’s “MTSO Alliance Program”
members. FAC 4 40-42; 46-48; 50-52; 80; 83; 108. Likewise, if Focus had not continued
eScription’s lie by representing that it would provide transcription services at a low cost without
use of foreign labor (and then secretly using foreign labor to drive down its production costs),
JMH would not have discontinued its relationship with TCC. FAC {J 55-57; 81; 83; 108.

JMH gave no reason for abandoning TCC other than the desire to save money
through the use of eScription’s software. FAC 4 60. JMH had no complaints about TCC’s
services. FAC 759. Moreover, JMH did not want its transcription work done overseas. JMH
apparently felt so strongly about this that it asked TCC to sign an addendum to the Services
Agreement specifically prohibiting the use of foreign transcription labor. FAC { 36.

Accordingly, JMH would not have abandoned its contract and business relationship with TCC

and used Focus’ services instead if it had known that Focus would use foreign labor, and would

not have purchased eScription’s software if it knew that the “cost savings” eScription promised
had nothing to do with technological advantages, and everything to do with the use of cut-rate
foreign labor resources by its “MTSO Alliance” members, including Focus.
The Nuance Defendants argue that TCC’s pleadings are inadequate against
eScription because JMH could have continued to use TCC for transcription services after
purchasing the eScription software. See Nuance Defendants’ Motion, at 14:1-8. This argument

ignores the fact that eScription had a partnership with Focus as part of its “MTSO Alliance

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Program,” and actively encouraged JMH to switch its transcription services away from TCC and
to an “MTSO Alliance” member, such as Focus. FAC ff 50-51; 80. In any event, eScription
cannot request dismissal of TCC’s complaint based on bare speculation concerning what JMH
theoretically could have done. Focus and eScription’s mistepresentations and omissions were
calculated to induce JMH to breach its contract and abandon its relationship with TCC, and were
successful in that regard. TCC has stated intentional interference claims based on this conduct.

The Nuance Defendants further argue that TCC’s pleadings are inadequate against
Focus because Focus’ alleged misrepresentations occurred after JMH had already issued an RFP.
See Nuance Defendants’ Motion, at 14:9-14. This argument relies upon the flawed presumption
that JMH had made a final decision to abandon TCC at the time it issued its RFP, regardless of
who responded to the RFP or what those responses said. Ultimately, this is yet another argument
reliant upon theoretical suppositions extrinsic to the pleadings that is improper at this procedural
stage. See Buckey, 968 F.2d at 794 (review of motion to dismiss pursuant to Federal Rule of
Civil Procedure 12(b)(6) “based on the contents of the complaint”).

e. The Nuance Defendants’ Interference With TCC’s Business
Relationship With JMH Was Accomplished Through
Independently Wrongful Acts

Finally, the Nuance Defendants argue that TCC’s pleadings fail to allege that their
acts were “independently wrongful.”’* See Nuance Defendants’ Motion, at 14:25-15:7. This
argument has no merit. TCC’s complaint, in numerous instances, sets forth allegations
concerning the fraudulent acts of Focus and eScription in interfering with TCC’s economic
relationship with JMH. See, e.g., FAC [{ 41-42; 46-48; 54-57; 72-74; 80-82; 96-98; 101-102;
104-108. Fraudulent misrepresentations in the context of business dealings are “independently
wrongful” for purposes of pleading intentional interference with business relations. See, e.g.,
Sprewell v. Golden State Warriors, 266 F.3d 979, 991 (9th Cir. 2001) (“misrepresentations” and

other “unethical business practices” constitute “wrongful conduct”).

4 See Della Penna v. Toyota Motor Sales, U.S.A., Inc., 11 Cal. 4th 376, 392-393
(1995) (complaint for interference with prospective economic advantage must plead that

interference was wrongful “by some measure beyond the fact of the interference itself”).
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The Nuance Defendants’ misguided characterization of TCC’s allegations as

“suppositions and conjectures and hypotheses””®

once again relates to adequacy of “proof” in a
procedural context where adequacy of pleading, not proof, is at issue. See Lee, 250 F.3d at 677;
Love, 915 F.2d at 1245. TCC has alleged that the Nuance Defendants’ acts were “independently
wrongful.” The Nuance Defendants do not, and cannot, show otherwise.
D. Nuance, as Successor-in-Interest to All Claims Against the Nuance

Defendants, is Properly Named as a Defendant in this Matter

The Nuance Defendants argue that Nuance should be dismissed because the
allegations set forth in the complaint concern acts taken by Focus and eScription, not Nuance
specifically. However, Nuance has acquired both Focus and eScription, including liabilities of
Focus and eScription, and is the successor-in-interest with respect to all claims alleged against
Focus and eScription. FAC {J 8; 89. Since both Focus and eScription are wholly owned
subsidiaries of Nuance, there is no prejudice in naming Nuance separately as a defendant.

. Further, as to the RICO claims, Nuance is, by virtue of its ownership and control
of both Focus and eScription, part of the alleged “association in fact” responsible for the alleged |
RICO offenses. FAC {{ 89; 95. Plaintiffs are “free to name all members of an association-in-
fact enterprise as individual defendants.” River City Markets, Inc. v. Fleming Foods West, Inc.,
960 F.2d 1458, 1462 (9th Cir. 1992). Nuance is an active participant in the ongoing, open-ended
fraudulent scheme at the heart of this case. See FAC § 103. For these reasons, Nuance is
properly named as a defendant in this matter, and should not be dismissed. a

E. Leave to Amend Should Be Granted, if Necessary, to Cure Any
Pleading Deficiencies
If this Court detects any pleading deficiencies in the FAC, TCC should be granted
leave to amend. Such leave is freely and liberally granted as a matter of judicial policy. See Fed,
R. Civ. P. 15(a)(2) (court should “freely give leave [to amend] when justice so requires”); see
also Livid Holdings, 416 F.3d at 946 (dismissal of complaint without leave to amend “is

improper unless it is clear that the complaint could not be saved by any amendment”).

6 See Nuance Defendants’ Motion, at 15:4-7.
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IV. CONCLUSION
For the foregoing reasons, this Court should deny Focus Infomatics, Inc.’s,
eScription’s, and Nuance Communications, Inc.’s Motion to Dismiss TCC’s First Amended
Complaint.
Dated: December 15, 2008 MENNEMEIER, GLASSMAN & STROUD LLP

KENNETH C. MENNEMEIER
LANDON D. BAILEY

By: Lert a [Mpnrnas

Kenneth C. Mennemeier
Attorneys for Plaintiff
Transcription Communications Corporation

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Case Name: Transcription Communications Corporation v. John Muir Health, et al.
Case No: U.S. District Court, Northern District, Case No.: 08-CV-04418-THE
CERTIFICATE OF SERVICE

I declare as follows:

I am a resident of the State of California and over the age of eighteen years, and -
not a party to the within action; my business address is 980 9th Street, Suite 1700, Sacramento,
California 95814. On December 15, 2008, I served the within documents: .

PLAINTIFF TRANSCRIPTION COMMUNICATIONS CORPORATIONS’
OPPOSITION TO DEFENDANTS FOCUS ENTERPRISES LIMITED, eSCRIPTION,

INC., AND NUANCE COMMUNICATIONS, INC.’S MOTION TO DISMISS
PLAINTIFF’S FIRST AMENDED COMPLAINT

x by placing the document(s) listed above in a sealed Federal Express

envelope and affixing a pre-paid air bill, and delivering to a Federal
Express agent for delivery.

James D. Holden
Hanson Bridgett LLP
425 Market Street, 26th Floor
San Francisco, CA 94105
Iam readily familiar with the firm’s practice of collection and processing
correspondence for mailing. Under that practice, it would be deposited with the U.S. Postal

Service on that same day with postage thereon fully prepared in the ordinary course of business.

I declare that I am employed in the office of a member of the bar of this Court at

whose direction this service was made.

Executed on December 15, 2008, at Sacramento, California.

Melissa Haagensen

471.01.PLE.Certificate of Service.mlh.wpd

